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lee:   USAO 20J8R00498
                                                                                      U.S. DISTilICT COURT
                                                                                   I.lISTR!CT OF ~lARYL'AliD
                 IN THE UNITED STATES DISTRICT COURT201~HAR 28 Ali1/:                                    46
                     FOR THE DISTRICT OF MARYLAND
                                                         CLERK'S OFFICE
                                                          AT GREENBELT
UNITED STATES OF AMERICA           *
                                                         *                         81'     rc/    DEPUTY
            v.                                           *
                                                         *
                                                                 CRIMINAL     N011J&       (CJty(    15'
BETTY ANN GARNER-NEWBY,                                  *       (Theft of Government Property,
                                                         *       18 U.S.c. ~ 641; Aiding and Abetting,
                         Defendant                       *       18 V.S.c. ~ 2; Forfeiture, 18 U.S.c.
                                                         *       ~ 981(a)(I)(C), 21 U.S.c. ~ 853(p),
                                                         *       28 V.S.c. ~ 2461 (e»
                                                         *
                                                     *******
                                                INFORMATION

                                                  COUNT ONE
                                        (Theft of Government Property)

            The United States Attorney for the District of Maryland charges that:

                                                  Introduction

            At all times relevant to this Indictment:

             I.          BETTY ANN GARNER-NEWBY              ("GARNER-NEWBY")        was a resident of

Maryland.

            2.           The federal Civil Service Retirement System ("CSRS") was a retirement system

that covered federal civil service employees. CSRS provided, among other things, retirement

annuity benefits for most federal employees whose federal service commenced on or before

December 31, 1983.

            3.           The U.S. Office of Personnel Management ("OPM") administered the CSRS

program, including payments made pursuant to that program.
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       4.       Victim A was a former federal employee who was enrolled in the CSRS

and became eligible to receive a federal retirement annuity in September 1973. Victim A

died on or about April 12, 1993.

       5.      GARNER-NEWBY          was Victim A's daughter and was identified as the

informant on Victim A's death certificate.

       6.      GARNER-NEWBY          failed to notify aPM of Victim A's death.

       7.      In and around September 1993, GARNER-NEWBY           signed and

submitted to aPM: (a) an aPM Form RI38-107 indicating that Victim A was not

deceased; and (b) an aPM form entitled Follow Up Notification of Possible Suspension

of Annuity Payments changing Victim A's address to GARNER-NEWBY's            home

address. GARNER-NEWBY          forged Victim A's signature on the aPM Form RI 38-107.

       8.      In and around April 1995, GARNER-NEWBY          submitted to aPM an

aPM Form RI 38-107 indicating that Victim A was not deceased.

       9.      aPM would have ceased making retirement annuity payments to Victim A

had GARNER-NEWBY          not submitted these fonns.

       10.     After Victim A's death, aPM continued to make monthly retirement

annuity payments to Victim A. These payments were deposited into a Hancock Whitney

Bank checking account held jointly in the names of Victim A and GARNER-NEWBY.

       11.     GARNER-NEWBY          then deposited and caused to be deposited checks

drawn from the Hancock Whitney Bank checking account, signed by GARNER-

NEWBY and made payable to GARNER-NEWBY,                into an account held by GARNER-

NEWBY at Bank of America.



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       12.       Because GARNER-NEWBY         did not report Victim A's death to OPM, between

in and around May 1993 and in and around November 2017, OPM continued to pay retirement

annuity payments to victim A, resulting in a loss to the United States Government of $326,091.

                                            The Charge

       13.       Between in and about May 1993 and in and about November 2017, in the District

of Maryland and elsewhere, the defendant,

                               BETTY ANN GARNER-NEWBY,

did embezzle, steal, purloin, and knowingly convert to her use and the use of another, any money

and thing of value of the United States and any department and agency thereof, with an

aggregate value that exceeded $1,000, that is, Civil Service Retirement System annuity benefits

payments to which she was not entitled.




18 U.S.C.   S 641
18 U.S.C.   S2




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                                     FORFEITURE ALLEGATION

        The United States Attorney for the District of Maryland further finds that:

        I.        Pursuant to Federal Rule of Criminal Procedure 32.2, notice is hereby given to the

defendant that the United States will seek forfeiture as part of any sentence in accordance with

18 U.S.C.    9 98 1(a)(l)(C),   21 U.S.c.   9 853(P),   and 28 U.S.c.   9 2461(c),   in the event of the

defendant's conviction under Count One of this Information.

                                Theft of Government Property Forfeiture

       2.        As a result of the offense set forth in Count One of this Information, the

defendant,

                                    BETTY ANN GARNER-NEWBY,

shall forfeit to the United States any property, real or personal, which constitutes or is derived

from proceeds traceable to such violation, including but not limited to at least $325,191 in

United States currency.

                                              Substitute Assets

        3.        Ifany of the property described above as being subject to forfeiture, as a result of

any act or omission of any defendant:

                  a.      cannot be located upon the exercise of due diligence;

                 b.       has been transferred or sold to, or deposited with, a third person;

                  c.      has been placed beyond the jurisdiction of the Court;

                  d.      has been substantially diminished in value; or,

                  e.      has been commingled with other property which cannot be divided

                          without difficulty;



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it is the intent of the United States, pursuant to 21 U.S.C.   S 853(p),   to seek forfeiture of any other

property of said defendant up to the value of the forfeitable property, that is, at least $325,191.




18 U.S.C.   S 981(a)(I)(C)
21 U.S.C.   S 853(P)
28 U.S.C.   S 2461(c)


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                                                   Robert K. Hur~
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                                                   United States Attorney




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